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                                   1                                 UNITED STATES DISTRICT COURT
                                   2                              NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4                                    RELATED CASE ORDER
                                   5
                                             A Notice of Related Cases has been filed that the following cases are related within the
                                   6   meaning of Crim. L.R. 8-1(b):
                                   7          CR 19-377 LHK                          USA v. Anthony Scott Levandowski

                                   8          CR 17-939 WHA                          Waymo LLC v. Uber Technologies, Inc., et al.

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                                  10                                                ORDER
                                  11
                                               On the basis of the material submitted to the Court, as the Judge assigned to the earliest
                                  12   filed case, I find that the cases:
Northern District of California
 United States District Court




                                  13
                                              ( )     ARE NOT RELATED as defined by Crim. L.R. 8-1(b).
                                  14
                                              ( )     ARE RELATED as defined by Crim. L.R. 8-1(b). I find, however, that
                                  15                  reassignment to me of the action(s) currently assigned to another judge is not
                                                      warranted.
                                  16
                                              (X)     ARE RELATED as defined by Crim. L.R. 8-1(b). Pursuant to Crim. L.R. 8-1(e),
                                  17                  the Clerk of Court is ordered to reassign the later-filed action to the undersigned.
                                                      Counsel are instructed that all future filings are to bear the initials WHA
                                  18                  immediately after the case number. All matters presently scheduled for hearing in
                                                      the reassigned case(s) are vacated and must be renoticed for hearing before the
                                  19                  undersigned.
                                  20

                                  21          DATED: September 3, 2019.

                                  22                                                    ______________________________________
                                                                                        WILLIAM ALSUP
                                  23                                                    United States District Judge
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